                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            Case No.: 5:21-cv-00093-KDB-DCK

JOERELLA ELLEBY, on behalf of herself )
and others similarly situated,        )
                                      )
      Plaintiff,                      )
                                      )
      v.                              )
                                      )
LIBERTY UNIVERSITY, INC.,             )
                                      )
      Defendant.                      )
_____________________________________ )

                                STIPULATION OF DISMISSAL

       Plaintiff Joerella Elleby and Defendant Liberty University, Inc. hereby stipulate to the

dismissal of this action with prejudice as to the Plaintiff’s individual claims and without prejudice

as to any other member of the putative class’s right to bring claims, with each party to bear its own

attorneys’ fees and costs.

Dated: March 29, 2022                 Respectfully Submitted,

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